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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í33)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 626 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

                   May 30, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                  SCHEDULE CTOí33 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


CALIFORNIA EASTERN

                                   County of Fresno v. Amerisourcebergen Drug
  CAE       1       18í00634       Corporation, et al.
                                   County of Calaveras, et al v. Amerisourcebergen Drug
  CAE       1       18í00637       Corporation et al
                                   County of Inyo, et al v. Amerisourcebergen Drug
  CAE       1       18í00639       Corporation et al
                                   County of Madera, et al v. Amerisourcebergen Drug
  CAE       1       18í00647       Corporation et al
                                   County of Mono v. Amerisourcebergen Drug
  CAE       2       18í01149       Corporation et al
                                   County of Butte v. Amerisourcebergen Drug
  CAE       2       18í01151       Corporation et al
                                   County of Nevada v. Amerisourcebergen Drug
  CAE       2       18í01152       Corporation et al
                                   County of El Dorado v. Amerisourcebergen Drug
  CAE       2       18í01157       Corporation et al
                                   County of Siskiyou v. Amerisourcebergen Drug
  CAE       2       18í01167       Corporation et al

CALIFORNIA NORTHERN

                                   County of Mendocino v. Amerisourcebergen Drug
  CAN       1       18í02712       Corporation et al
                                   County of Del Norte v. Amerisourcebergen Drug
  CAN       1       18í02732       Corporation et al
                                   County of Contra Costa v. Amerisourcebergen Drug
  CAN       3       18í02705       Corporation et al
  CAN       3       18í02730       County of Marin v. Purdue Pharma L.P. et al
                                   County of San Benito v. Amerisourcebergen Drug
  CAN       5       18í02733       Corporation et al

CALIFORNIA SOUTHERN

                                   County of Imperial et al v. Amerisourcebergen Drug
  CAS       3       18í00892       Corporation et al
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GEORGIA SOUTHERN

                                   City of Alma, Georgia v. Amerisourcebergen Drug
  GAS       5       18í00041       Corporation et al

LOUISIANA EASTERN

  LAE       2       18í04828       Gusman v. Purdue Pharma L.P. et al

MARYLAND

                                   City of Hagerstown, Maryland v. Amerisourcebergen
  MD        1       18í01367       Drug Corporation et al
                                   City of Cumberland, Maryland v AmerisourceBergen
  MD        1       18í01368       Drug Corporation, et al.
                                   Allegany County, Maryland v. Amerisourcebergen Drug
  MD        1       18í01382       Corporation et al
                                   City of Frostburg v. Amerisourcebergen Drug
  MD        1       18í01383       Corporation et al
